     Case 4:16-cv-02940 Document 1-2 Filed in TXSD on 09/30/16 Page 1 of 13



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

RICHARD WOOSLEY                               §
                                              §
V.                                            §            CIVIL ACTION NO. ____________
                                              §
CSL PLASMA, INC.                              §                  JURY DEMANDED

                               INDEX OF MATTERS BEING FILED

1.     Notice of Removal

       a.     Citation Served on Defendant

       b.     Plaintiff's Original Petition

       c.     Defendant’s Original Answer in State Court

2.     List of Counsel

3.     Civil Cover Sheet

4.     State Court's Docket Sheet ( 1 page)

                                                  Respectfully submitted,

                                                  DUNN, WEATHERED,
                                                  COFFEY & KASPERITIS, P.C.
                                                  611 S. Upper Broadway
                                                  Corpus Christi, Texas 78401
                                                  (361) 883-1594
                                                  (361) 883-1599 (Fax)
                                                  E-mail: larry@texasdefenselaw.cc



                                                  By:      /s/ Lawrence Coffey
                                                           Lawrence Coffey
                                                           State Bar No. 04489200
                                                           Fed. ID No. 7586

                                                  Attorney in Charge for Defendant
    Case 4:16-cv-02940 Document 1-2 Filed in TXSD on 09/30/16 Page 2 of 13




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing instrument has
been duly served in accordance with the Federal Rules of Civil Procedure, by the method of
service indicated, upon the following counsel of record:

Via Electronic Filing:
Mr. John A. Davis, Jr.
DAVIS & DAVIS
Attorneys at Law
440 Louisiana, Suite 1850
Houston, Texas 77002

On this the 30th day of September, 2016.



                                                   /s/ Lawrence Coffey
                                                   Lawrence Coffey
 Case 4:16-cv-02940 Document 1-2 Filed in TXSD on 09/30/16 Page 3 of 13
                                                                       Service of Process
                                                                       Transmittal
                                                                       09/20/2016
                                                                       CT Log Number 529876003
TO:     Gregory A Boss, General Counsel
        CSL Behring, L.L.C.
        1020 1st Ave
        King Of Prussia, PA 19406-1310

RE:     Process Served in Texas
FOR:    CSL Plasma Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 RICHARD WOOSLEY, Pltf. vs. CSL PLASMA INC, Dft.
                                 Name discrepancy noted.
DOCUMENT(S) SERVED:              Citation, Original Petition
COURT/AGENCY:                    157th Judicial District Court Harris County, TX
                                 Case # 201658855
NATURE OF ACTION:                Personal Injury - 12/22/2016
ON WHOM PROCESS WAS SERVED:      C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:        By Certified Mail on 09/20/2016 postmarked on 09/17/2016
JURISDICTION SERVED :            Texas
APPEARANCE OR ANSWER DUE:        By 10:00 a.m. on the Monday next following the expiration of 20 days after service
                                 (Document(s) may contain additional answer dates)
ATTORNEY(S) / SENDER(S):         JOHN A. DAVIS JR.
                                 DAVIS & DAVIS ATTORNEYS AT LAW
                                 440 Louisiana, Suite 1850
                                 Houston, TX 77002
                                 713-781-5200
ACTION ITEMS:                    CT has retained the current log, Retain Date: 09/21/2016, Expected Purge Date:
                                 09/26/2016

                                 Image SOP

                                 Email Notification, Monica Watkins monica.watkins@cslbehring.com
                                 Email Notification, Cheryl Raniszewski Cheryl.Raniszewski@cslbehring.com

SIGNED:                          C T Corporation System
ADDRESS:                         1999 Bryan Street
                                 Suite 900
                                 Dallas, TX 75201
TELEPHONE:                       214-932-3601




                                                                       Page 1 of 1 / NP
                                                                       Information displayed on this transmittal is for CT
                                                                       Corporation's record keeping purposes only and is provided to
                                                                       the recipient for quick reference. This information does not
                                                                       constitute a legal opinion as to the nature of action, the
                                                                       amount of damages, the answer date, or any information
                                                                       contained in the documents themselves. Recipient is
                                                                       responsible for interpreting said documents and for taking
                                                                       appropriate action. Signatures on certified mail receipts
                                                                       confirm receipt of package only, not contents.
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                                                                                                                             TRACKING NUMBER                       73286140 CIV

                                                                 CAUSE NUMBER                        201658855


PLAINTIFF: WOOSLEY, RICHARD                                                                                                                In The 157th
   vs.                                                                                                                                     Judicial District Court of
DEFENDANT: CH, PLASMA INC                                                                                                                  Harris County, Texas
                                                                           CITATION CORPORATE
THE STATE OF TEXAS
County of Harris
TO: CSL PLASMA INC (A DELAWARE CORPORATION) MAY BE SERVED BY SERVING
     ITS REGISTERED AGENT CT CORPORATION 1999 BRYAN ST SUITE 900 DALLAS
     TEXAS 75201
     OR WHEREVER THE DEFENDANT MAY BE FOUND



     Attached is a copy of           PLAINTIFF'S ORIGINAL PETITION.


This instrument was filed on the     1st      day of      September                                                                              , 20      16      , in the
above cited cause number and court. The instrument attached describes the claim against you.

       YOU HAVE BEEN SUED; you may employ an attorney. If you or your attorney do not file a written answer with the
 District Clerk who issued this citation by 10:00 a.m on the Monday next following the expiration of zo days after you were
served this citation and petition, a default judgment may be taken against you.

TO OFFICER SERVING:
     This Citation was issued under my hand and seal of said Court, at Houston, Texas, this                                                    8th      day of
       September             , 20 16 .


                                                                                                    eix4.
                                                                                                    CHRIS DANIEL, District Clerk
Issued at request of:                                            '   of                             Harris County, Texas
DAVIS, JOHN A. JR.                                                                                  201 Caroline, Houston, Texas 77002
                                                                      's
440 LOUISIANA, SUITE 1850                                                                           P.O.Box 4651, Houston, Texas 77210
HOUSTON, TX 77002                                                              -----
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TEL: (713) 781-5200                                                                       Generated by: RICHARDSON, SHANIECE
Bar Number: 5512300                                                                       A4L//10474574
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the date of delivery thereon, and executed it at
                                                                                          (STREET ADDRESS)                                              (CITY)

in                           County, Texas on the                         day of                                     , 20           , at             o'clock        .M.,

by delivering to                                                                                                                               , by delivering to its
                                              HE    ENDANT CORPORATION NAMED IN crunoN)


                                                             in person, whose name is
     (REGISTERED AGENT, PRESIDENT, or VICE-PRESIDENT)


a true copy of this citation, with a copy of the                                                                                                   Petition attached,
                                                                 (DESCRIPTION OF PETITION, EL , "PLAINTIFFS ORIGINAL")


and with accompanying copies of
                                                            (ADDMONAL DOCUNIE.NTS, IF ANT, DELIVERED wrni THE PETITION)




I certify that the facts stated in this return are true by my signature below on the                                       day of                          ,20           .

FEE: $                                                                             By:
                                                                                                                 (SIGNATURE OF OFFICER)


                                                                                   Printed Name:

                                                                                   As Deputy for:
Affiant Other Than Officer                                                                                               (PRINTED NAME & TITLE OF SHERIFF OR CONSTABLE)




On this day,                                                             , known to me to be the person whose signature
appears on the foregoing return, personally appeared. After being by me duly sworn, he/she stated that this citation was
executed by him/her in the exact manner recited on the return.

SWORN TO AND SUBSCRIBED BEFORE ME, on this                                                   day of                                                              -, 20




                                                                                                                                           Notary Public




N.INT.CITC.P
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     Case 4:16-cv-02940 Document 1-2 Filed in TXSD on 09/30/16 Page 6 of 13                             9/1/2016 9:34:39 AM
                                                                                  Chris Daniel - District Clerk Harris County
                                                                                                    Envelope No. 12486062
                           2016-58855 / Court: 157                                                        By: Bonisha Evans
                                                                                                 Filed: 9/1/2016 9:34:39 AM

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      Case 4:16-cv-02940 Document 1-2 Filed in TXSD on 09/30/16 Page 9 of 13



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                                         CAUSE NO. 2016-58855

RICHARD WOOSLEY                                       §                IN THE DISTRICT COURT
                                                      §
VS.                                                   §                HARRIS COUNTY, TEXAS
                                                      §
CSL PLASMA, INC.                                      §                157TH JUDICIAL DISTRICT

                                DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, CSL Plasma, Inc., Defendant in the above entitled and numbered cause,

and files this its Original Answer and for such answer says as follows:

                                                      I.

        Defendant, CSL Plasma, Inc., generally denies the allegations of the Plaintiff in this

cause and upon this denial demands a trial of the issues.

                                                      II.

        WHEREFORE, PREMISES CONSIDERED, this Defendant prays that upon final trial,

Plaintiff take nothing by his suit but that this Defendant have judgment plus costs of Court and

such other and further relief to which it may be entitled, either at law or in equity.

                                                       Respectfully submitted,

                                                       DUNN, WEATHERED,
                                                       COFFEY & KASPERITIS, P.C.
                                                       611 S. Upper Broadway
                                                       Corpus Christi, Texas 78401
                                                       (361) 883-1594
                                                       (361) 883-1599 (Fax)
                                                       Email: larry@texasdefenselaw.cc



                                                       By: /s/ Lawrence Coffey
                                                               Lawrence Coffey
                                                               State Bar No. 04489200
                                                       Attorney for Defendant

                                                                                      Cause No. 2016-58855
                                                                                 Defendant’s Original Answer
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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument has
been duly served, by the method of service indicated, upon the following counsel of record:

VIA Electronic Filing
Mr. John A. Davis, Jr.
DAVIS & DAVIS
Attorneys at Law
440 Louisiana, Suite 1850
Houston, Texas 77002

On this the 30th day of September, 2016.



                                                  /s/ Lawrence Coffey
                                                  Lawrence Coffey




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                                                                           Defendant’s Original Answer
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